        Case 5:20-cv-05048-PKH
        5:19-bk-72555  Doc#: 74 Document   1-2 Filed
                                Filed: 02/28/20      03/18/20
                                                Entered:       Page
                                                         02/28/20    1 of 2 PageID
                                                                  16:49:42   Page 1#:of17
                                                                                        2
Official Form 417A (12/18)

                                                                                                                     FILED
                                                                                                               U~.BAHKRUPTCYCOURT
                                                                                                               EAST&WESTD~TSOFAR

                                                                                                                   FEB·2 8 2020
                                     [Caption as in Form 416A, 4168, or 416D, as appropriate]·                              _c.R-
                                               .           JJIDAllcC<lffMA~C~U~---•
                     , NOTICE OF APPEAL AND STATEMENT OF ELECTION             ::::m


       Part 1: Identify the appellant(s)

            1.   Name(s) of appeUant(s):
                                                         ~~hr~
           2.    Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject of this
                 appeal:

                 For appeals in an adversary proceeding.                   For appeals in a bankruptcy case and not in an
                 D Plaintiff                                               adversary proceeding.
                 D Defendant                                               'kl'nebtor
                 D Other (describe) _ _ _ _ _ _ __                         filreditor
                                                                           D Trustee
                                                                           D Other (describe) _ _ _ _ _ _ __

       Part 2: _Identify the ~ubject of this appeal                              ·      ~ olF tMCf/-i'oVL ~
                                                                                          ~ u,U)IL-k, cPu..t}wi ~
           1.

           2.
                 Describe the judgment, order, or decree appealed from:

                 State the date on which the.judgment, order, or decree was entered:
                                                                                        ~~--               ~~~
       Part 3: Identify the other parti.;.; to the appeal                                                            c_,   3i:;tzo)
       List the names of all parties to the judgment, order, or decree appealed from and the names, addresses,
       and telephone numbers of their attorneys (attach additional pages if necessary):


            1. Party:~~~
                                                         Atto'rney: _ _ _            8__,_.J~=---__._'fuJ_1~ ~ -


           2.    Party:     fl<)~                        Attorney:   ---=b=-----lQ_V\__·_w_~...;___-
                            :Peott (}.AtL-U
                                 .~~a

       Official Form 417A                            Notice of Appeal and Statement of Election                              page 1



                            EOD: February 28, 2020
 Case 5:20-cv-05048-PKH
 5:19-bk-72555  Doc#: 74 Document   1-2 Filed
                         Filed: 02/28/20      03/18/20
                                         Entered:       Page
                                                  02/28/20    2 of 2 PageID
                                                           16:49:42   Page 2#:of18
                                                                                 2



Part 4: Optional election to have appeal heard by District Court (applicable only in
certain districts)

If a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy Appellate Panel will
hear this appeal unless, pursuant to 28 U.S.C. § 158(c)(1), a party elects to have the appeal .heard by the
United States District Court. If an appellant filing this notice wishes to have the appeal heard by the
United States District Court, check below. Do not check the box if the appellant wishes the Bankruptcy
Appellate Panel to hear the appeal. .

          r/Appellant(s) elect to have the appeal heard by the United States District Court rather than by
          L ~he Bankruptcy Appellate Panel.        .                 .




                                                                             Date:   ff/Vo/1D
Name, address, and telephone number of attorney
(or appellant(s) if not represented by an attorney):

       t('5" P5 o m F(>--( ~


Fee waiver notice: If appellant is a child support creditor or its representative and appellant has filed the
form specified in § 304(g) of the Bankruptcy Reform Act of 1994, no fee is required.


[Note to inmate filers:· If you are an inmate filer in an ipstitution and you seek the timing benefit of Fed.
R. Bankr. P. 8002(c)(1), complete Director's Form 4170 (Declaration of Inmate Filing) and file that
declaration along with the Notice of Appeal.]




Official Form 417A                   Notice of Appeal and Statement of Election                           page 2
